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FILED

IN THE UNITED STATES DISTRICT COR
MIDDLE DISTRICT OF FLORIDA. "AY 17 py 3:
ORLANDO DIVISION US B15 49

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ESTATE OF ROBERT SULLIVAN, individually CASE NO. & at) ~CV 44 (- DAL~4O~ KAS

and on behalf of all others similarly situated,
CLASS ACTION
Plaintiff,

Vv.

GOVERNMENT EMPLOYEES INSURANCE
COMPANY,

Defendant.

CLASS ACTION COMPLAINT FOR DAMAGES
The Plaintiff, the ESTATE OF ROBERT SULLIVAN, on behalf of himself and all others
similarly situated, files this Class Action Complaint against GOVERNMENT EMPLOYEES
INSURANCE COMPANY (Defendant “Geico”), and in support thereof states the following:
NATURE OF THE ACTION
1. This is a class action lawsuit by Plaintiff; Mr. Sullivan was the named insured under a
“Geico” automobile policy issued for private passenger auto physical damage, which
required payment of “Actual Cash Value” or “ACV.” The ACV of a vehicle includes
mandatory title and licensing fees.
2. Defendant Geico’s standardized policy language, present in all Florida policies issued by
Defendant and any various subsidiaries doing business under Defendant’s name, shows that
title and licensing fees -- mandatory local and state fees -- are included in a total loss vehicle

coverage, as are state and local regulatory fees.
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3. This lawsuit is brought on behalf of the ESTATE OF ROBERT SULLIVAN and on behalf
of similarly situated insureds who have suffered damages due to Defendant’s policy and
practice of refusing to pay the full ACV state and local title and licensing fees on insured
vehicles in cases of total loss, notwithstanding that, as set forth above, the Defendant’s
standardized policy language provides coverage for said fees.

JURISDICTION AND VENUE

4. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2), because (a)
the Plaintiff is a member of the putative classes which consist of at least 100 members and
he and the Defendants are citizens of different states; (b) the amount-in-controversy exceeds
$5 million dollars exclusive of interest and costs; and (c) none of the exceptions under 1332
apply to this claim.

5. Venue is proper in this Court because a substantial portion of the acts and course of conduct
giving rise to the claims alleged occurred within the district and the Defendants are subject
to personal jurisdiction in this district.

THE PARTIES

6. At all times material hereto, the Plaintiff is the legal estate representing the interests of
Robert Sullivan, deceased, who was a person residing in Volusia County, Florida.

7. At all times material hereto, the Defendant Geico is and was a foreign corporation
authorized to transact insurance in the State of Florida, and one of the largest, if the not
largest, motor vehicle insurer in Florida. Defendant Geico also owns other, subsidiary
companies operating under the “Geico” name, and is responsible for the standardized

automobile insurance policies issued to Plaintiff and all of the putative class members.
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FACTUAL ALLEGATIONS
At all times material hereto, Mr. Robert Sullivan was a owner of a 2013 Hyundai Accent SE,
VIN # KMHCU5AE3DU104047.
At all times material hereto, Plaintiff insured the subject vehicle under an insurance policy
issued by the Defendant (attached hereto as Exhibit A).
On or about October 26, 2016, Mr. Sullivan was involved in an accident while operating the
2013 Hyundai Accent SE, whereby his vehicle was slammed into by a negligent driver.
Tragically, Mr. Sullivan died as a result of the accident.
As a result of said accident, Mr. Sullivan’s estate filed a claim for property damage with
Defendant, claim number 0376726870101058-01.
Following the filing of said claim, Defendant determined that the 2013 Hyundai Accent SE
was a total loss with an ACV of $6,664.00 and included $424.84 in sales tax, a number
derived, importantly, from the $6,664.00 amount. According to Defendant, then, the
replacement value was $7,088.84. Defendant then paid Plaintiff said amount, minus a
deductible of $500.00, for a total of $6,588.84.
In paying the aforementioned amount, Defendant indicated that indicated that the amount
listed above -- $6,588.84 -- may not reflect the settlement amount because “other factors

(e.g. license and fees) may need to be taken into account.” (See below):
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~/” VALUATION SUMMARY

 

Base Vehicle Value $ 6,664.00
Adjusted Vehicle Value $ 6,664.00
Vehicular Tax (6.3752%) +$ 424.84
Tax reflects applicable state, county and municipal

taxes.

Value before Deductible $ 7,088.84
Deductible - $500.00

 

The total may not represent the total of the settlement as other factors (e.g. icense and
fees) may need to be taken into account.

14. Notwithstanding the caveat, however, the amount listed -- $6,588.84 -- was the exact amount
provided by Defendant; thus, Defendant never accounted for such license and title fees.
THE STATE FARM INSURANCE POLICY
15. The insurance policy (Exhibit A), under the section entitled PHYSICAL DAMAGE
COVERAGES (Ex. A p. 14), states the following:
“Collision:
We will pay for collision loss to the owned auto for the amount of each Joss less any

applicable deductible...” [emphasis in original]

16. In the same section, under a provision entitled “Limits of Liability” (Ex. A p. 15), states:

 

“The limit of our liability for Joss:
1. Is the actual cash value of the property at the time
of lass.”

17. The term “actual cash value” is defined as “the replacement cost of the auto or property less

 

depreciation or betterment.” Ex. A p. 13.
18. In order to legally drive a vehicle, Florida law requires the payment of license, title and

registration fees, ranging from $46.15 to $72.40 for registration of title fees and $225.00 for
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license fees, among other mandatory fees. Below is a picture indicating an incomplete list of

some of the above-mentioned mandatory fees, merely as an example:

Fees for Florida Car Title Transfers
Several factors affect the title transfer fee you'll pay for an auto title transfer in Florida.

Cammon fees include:

* Vehicle title transfer within FL:
* Electronic title issued: $75.25.

* Papar title issued: $77.75.
* ADD $2 lien fee for each lien.
« Tite transfer from out of state:
* Electronic title: $85.25.
* Paper title: $87.75.
« New to FL vehicle fee: $225.
* ADD $2 lien fee for each lien on the vehicle.

* Same-day service (available at some locations): $10 PLUS applicable title transfer fee.

 

You'll also pay vehicle registration fees if you're registering your vehicle at the same time.

Change Your FL Vehicle Title

If you change your name or move to a different Florida address, you need to update your FL DHSMV license and vehicle
records.

Name Change

To change the name on your title and registration, you'll need to transfer the vehicle title into your new name.

Go In person to your FL county tax office with:
* The Application for Certificate of Title With/Without Registration (Form HSMV HSMV 82040).

» Payment for the appropriate title transfer fee:
* Title transfer (electronic title): $75.25.

* Tite transfer with a new paper title no lien: $77.75.

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19. The cost of replacing a vehicle, then, necessarily includes title and licensing and other fees,
and Defendant’s own policy indicates that “actual cash value” means the cost of replacing

the subject auto.
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20. Certainly, Defendant’s policy did not exe/nde title and licensing fees -- an industry standard
for replacing a total loss vehicle -- from its definition of actual cash value. Florida law is
clear that Courts cannot limit the scope of a term, if it is not defined in the policy, to a
narrow definition that benefits the insurer; in fact, if policy language is susceptible to more
than one reasonable interpretation, it is construcd in the light that would grant coverage, i.e.
to the benefit of the insured and against the insurer. Travelers Indem. Co. v. PCR Inc., 889 So.
2d 779 (Fla. 2004).

21. The following image is from a standardized Florida total loss valuation report -- prepared by
the same third-party company used by Defendant in the present case -- indicating mandatory
title and licenses fees, and, tellingly, corresponding closely with the mandatory title transfer

fee:

@ VALUATION SUMMARY

 

Base Vehicle Value $ 23,037.00
Condition Adjustment - § 106.00
Adjusted Vehicle Value $ 22,931.00
Vehicular Tax (6.109%) + $ 1,400.86
Tax reflects applicable state, county and municipal!

taxes.

DMV FEE +$ 85.60

 

Total ssi a asti(té‘ié«S «ATW

CLASS ALLEGATIONS
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The Plaintiff brings this action seeking representation of a class pursuant to Fed. R. Civ. P.
23.

Plaintiffs claims are typical to those of all class member because members of the class are
similarly affected by Defendant’s failure to pay state and local regulatory fees upon the total
loss of insured vehicles. The material and relevant policy terms for each class member are
identical to the terms of Plaintiff's policy.

Plaintiffs interests are coincident with and not antagonistic to those of other class members,
nor is the Plaintiff subject to any unique defenses.

The claim of representative Plaintiff raises questions of law and fact common to all members
of the class, within the meaning of FRCP 23(a)(2), and they predominate over any questions
affecting only individual Class Members within the meaning of Rule 23(b)(3). Said common
questions include, but are not limited to, the following: (a2) whether, under the Defendant's
standardized policy language, Plaintuff and the class members are owed ACV Sales Tax and
state and local regulatory fees upon the total loss of an insured leased vehicle; and (b)
whether the Defendant has breached its insurance contracts with the Plaintiff and the class
members by failing to pay state and local regulatory fees upon the total loss of an insured
vehicle.

Plaintiffs claims are typical of the claims of all other members of the class because all such
claims arise from the allegedly improper failure by Defendant to pay state and local
regulatory fees upon the total loss of insured vehicles.

Plaintiff and his counsel will fairly and adequately protect and represent the interests of each

member of the class.
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Plaintiff is committed to the vigorous prosecution of this action and has retained competent
counsel experienced in prosecuting and defending class actions.

Class action is necessary, pursuant to Fed. R. Civ. P. 23(b)(1)(a), because the prosecution of
separate actions by or against individual Class Members would create the risk of inconsistent
or vatying adjudications with respect to individual Class Members that would establish
incompatible standards of conduct for Defendants.

Class treatment is also necessary, pursuant to Fed. R. Civ. P. 23(b)(1)(b), because the
prosecution of separate actions by or against individual Class Members would create a risk of
adjudications with respect to individual Class Members that, as a practical matter, would be
dispositive of the interests of other members not parties to the individual adjudications, or
would substantially impair or impede their ability to protect their interests.

Pursuant to Rule 23(b)(3), a class action is superior to the other available methods for a fair
and efficient adjudication of the controversy because, among other reasons, it is desirable to
concentrate the litigation of the Class Members’ claims in one forum, as it will conserve
party and judicial resources and facilitate the consistency of adjudications. Furthermore, as
the damages suffered by individual Class Membets may be small, their interests in
maintaining separate actions is questionable and the expense and burden of individual
litigation makes it impracticable for them to seek individual redress for the wrongs done to
them. Plaintiff knows of no difficulty that would be encountered in the management of this
case that would preclude its maintenance as a class action.

Plaintiff brings this action as class representative, individually and on behalf of all other

persons or entities similarly situated, more specifically defined as follows:
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CLASS

 

All insureds, under a policy issued by Government Employee
Insurance Company covering a vehicle in the State of Florida,
who sustained a total loss to said vehicle and who, within the
five year time period prior to the date on which this lawsuit
was filed till the date of any certification order, received
payment from Government Employee Insurance Company
for said loss, which payment did not include state and local
regulatory fees for the loss of said vehicle.

The issues related to Plaintiffs claim do not vary from the issues relating to the claims of the
other members of the class such that a class action provides a more efficient vehicle to
resolve this claim than through a myriad of separate lawsuits.
Certification of the above class is also supported by the following considerations:
a. ‘The relatively small amount of damages that members of the
classes have suffered on an individual basis would not justify
the prosecution of separate lawsuits;
b. Counsel in this class action is not aware of any previously
filed litigation against the Defendants in which any of the
members of the class are a party and which any question of
law or fact in the subject action can be adjudicated; and
c. No difficulties would be encountered in the management of
Plaintiffs claim on a class action basis, because the class is
readily definable and the prosecution of this class action
would reduce the possibility of repetitious litigation.
Finally, although the precise number of class members is unknown to Plaintiff at this time
and can only be determined through appropriate discovery, Plaintiff believes that because
Defendant is one of the largest, if not the largest, motor vehicle insurer in the State of
Florida, the class of persons affected by Defendant’s unlawful practice consists of thousands
of individuals or the class of persons affected are otherwise so numerous that joinder of all

class members is impractical. The unlawful practice alleged herein is a standardized and

uniform practice, employed by Defendant pursuant to standardized insurance policy
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language, and results in the retention by Defendant of insurance benefits and monies
properly owed to Plaintiff and the class members.

LAIM FOR BREACH OF CONTRACT
The allegations contained in Paragraphs 1 through 35 above are incorporated herein by
reference.
Pursuant to the aforementioned uniform contractual provisions, upon the total loss of
insured vehicles, the Plaintiff and the class members were owed the actual cash value of the
vehicle, which would include mandatory state and local regulatory fees.
The Defendant’s failure to provide coverage for the aforementioned mandatory state and
local regulatory fees constitutes a breach of said contractual provisions. As a result of said
breaches, Plainuff and the class members are entitled under Defendant’s insurance policies
to sums representing the benefits owed for mandatory state and local regulatory fees, as well
as costs, prejudgment and postjudgment interest, and other relief as is appropriate.
In addition, Plaintiff and the class members are entitled to an award of attorney’s fees
pursuant to §627.428 Fla. Stat.

WHEREFORE, the Plaintiff, individually and on behalf of the Class, seeks an award of

compensatory damages as outlined above, pre and post judgment interests, costs, attorney’s fees and

such other relief this Court deems just and proper. In addition, Plaintiff seeks trial by jury of all

issues so triable.

Respectfully submitted,

By: /s/ Ed Normand
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